        Case 2:08-cr-00125-WBS Document 78 Filed 04/12/10 Page 1 of 3


                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                MEMORANDUM                            FILED
                                                                         APR 1 2 MYI

Honorable Edward J. Garcia
Senior United States District Judge
Sacramento, California



                                        RE:    Samuel NLINGARAY
                                               Docket Number: 2:08CR00125-03
                                               CONTINUANCE OF JUDGMENT
                                               AND SENTENCING



Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced
case be continued from April 23, 2010 at 10:OO AM to June 4, 2010 at 10:OO AM. (See
attached amended Schedule for Disclosure.)



REASON FOR CONTINUANCE: Defense Counsel has requested additional time for
informal objections to be discussed with the probation officer, who has been unavailable
during the informal objection period due to a family emergency.




                                                                                   Rev. 1012009
                                                               CONTINUANCE -TO JUDGE (EJG).MRG
         Case 2:08-cr-00125-WBS Document 78 Filed 04/12/10 Page 2 of 3


RE:   FRATICELLI, Matthew Michael
      Docket Number: 2:09CR00366-01
      CONTINUANCE OF JUDGMENT AND SENTENCING


By copy of this memorandum, the Court Clerk is being requested to make appropriate
changes in the Court calendar.



                               Respectfully submitted,



                               LORI V. CLANTON
                      Senior United States Probation Officer



REVIEWED BY:       4 f i k c?wLJfL
                   JEFFREY C. OESTREICHER
                   Supervising United States Probation Officer

Dated:       April 8, 2010
             Sacramento, California
             JCOImc

Attachment

cc:   Clerk, United States District Court
      Jason Hitt, Assistant United States Attorney
      United States Marshal's Office
      David Dratman, Defense Counsel
      Probation Office Calendar clerk



      Approved                                                            4&1(             0
                          EDWARD J. GARCIA
                          Senior United States District Judge              Date
- Disapproved




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                                                           CONTINUANCE   - TO JUDGE (EJG).MRG
        Case 2:08-cr-00125-WBS Document 78 Filed 04/12/10 Page 3 of 3


                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                   Docket Number: 2:08CR00125-03

                   Plaintiff,              SCHEDULE FOR DISCLOSURE OF
                                           PRESENTENCE REPORT AND FOR
      vs .                                 FILING OF OBJECTIONS TO THE
                                           PRESENTENCEREPORT
Samuel NUNGARAY

                   Defendant.


The Probation Officer and all parties shall adhere to this schedule unless it is later
modified by this Court:

    Judgment and Sentencing Date:                         June 4,2010 @ 10:OO
                                                          AM


    Reply, or Statement of Non-Opposition:                 May 28,2010


    Motion for Correction of the Presentence Report
    shall be filed with the Court and served on the
    Probation Officer and opposing counsel no later
    than:                                                  May 21,2010

    The Presentence Report shall be filed with the
    Court and disclosed to counsel no later than:          May 14,2010


    Counsel's written objections to the Presentence
    Report shall be delivered to the Probation Officer
    and opposing counsel no later than:                    May 7,201 0

    The proposed Presentence Report shall be
    disclosed to counsel no later than:                    April 23, 2010




                                                                                 Rev. 1012009
                                                                          -
                                                              CONTINUANCE TO JUDGE (EJG).MRG
